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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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GREGORY DOUGLAS,
                                                                       ORDER
                                                    Plaintiff,

                           -against-                                   18 Civ. 9327 (KPF)

The CITY OF NEW YORK and CO CAROL
GARCIA,

                                                Defendants.

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Honorable Katherine Polk Failla, United States District Judge

                 Upon the application of the Defendants for leave to take the deposition of plaintiff

Gregory Douglas, an inmate, and the Court having granted leave for the taking of plaintiff

Gregory Douglas’ deposition pursuant to Rule 30(a)(2)(B) of the Federal Rules of Civil

Procedure:

                 IT IS HEREBY ORDERED that the Warden or other official in charge of the

Five Points Correctional Facility, located in Romulus New York, produce inmate Gregory

Douglas, DIN 18-R-2264, within the facility for the taking of his deposition by video conference

on December 2, 2020, commencing at 10:00 a.m., and for so long thereafter as the deposition

continues;

                 IT IS FURTHER ORDERED that plaintiff Gregory Douglas appear in such

place as designated by the Warden or other official in charge of the Five Points Correctional

Facility so that his deposition may be taken; and
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              IT IS FURTHER ORDERED that also present at the deposition, via video

conference, will be a court reporter to be designated by Defendants as well as the attorney for

Defendants.

              The Clerk of Court is directed to mail a copy of this Order to Plaintiff.

Dated: November 10, 2020                         SO ORDERED.
       New York, New York




                                                 HON. KATHERINE POLK FAILLA
                                                 UNITED STATES DISTRICT JUDGE




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